      Case 2:12-cr-20043-PKH                      Document 499                 Filed 05/10/16               Page 1 of 1 PageID #: 2704
$2 5HY 2UGHU5HJDUGLQJ0RWLRQIRU6HQWHQFH5HGXFWLRQ3XUVXDQWWR86& F             3DJHRI 3DJH1RWIRU3XEOLF'LVFORVXUH


                                       81,7(' 67$7(6 ',675,&7 &2857
                                                                          IRUWKH
                                                         Western District of Arkansas
                                                       BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

                    8QLWHG6WDWHVRI$PHULFD
                               Y
                                                                                 &DVH1R &5
                        0,*8(/ 3$5$02
                                                                                 8601R 
'DWHRI2ULJLQDO-XGJPHQW                             
'DWHRI3UHYLRXV$PHQGHG-XGJPHQW                                               0DUN - 0REOH\
(Use Date of Last Amended Judgment if Any)                                       Defendant’s Attorney


                   25'(55(*$5',1*027,21)256(17(1&(5('8&7,21
                            38568$177286& F 
        8SRQPRWLRQRI u WKHGHIHQGDQW u WKH'LUHFWRURIWKH%XUHDXRI3ULVRQV ✔         u WKHFRXUWXQGHU86&
 F  IRUDUHGXFWLRQLQWKHWHUPRILPSULVRQPHQWLPSRVHGEDVHGRQDJXLGHOLQHVHQWHQFLQJUDQJHWKDWKDV
VXEVHTXHQWO\EHHQORZHUHGDQGPDGHUHWURDFWLYHE\WKH8QLWHG6WDWHV6HQWHQFLQJ&RPPLVVLRQSXUVXDQWWR86&
 X DQGKDYLQJFRQVLGHUHGVXFKPRWLRQDQGWDNLQJLQWRDFFRXQWWKHSROLF\VWDWHPHQWVHWIRUWKDW866*%
DQGWKHVHQWHQFLQJIDFWRUVVHWIRUWKLQ86& D WRWKHH[WHQWWKDWWKH\DUHDSSOLFDEOH
,7,625'(5('WKDWWKHPRWLRQLV
           u '(1,(' u       ✔ *5$17('DQGWKHGHIHQGDQW¶VSUHYLRXVO\LPSRVHGVHQWHQFHRILPSULVRQPHQW(as reflected in
the last judgment issued) RI                        PRQWKVLVUHGXFHGWR  PRQWKV                           
                                              (Complete Parts I and II of Page 2 when motion is granted)




([FHSWDVRWKHUZLVHSURYLGHGDOOSURYLVLRQVRIWKHMXGJPHQWGDWHG                                         VKDOOUHPDLQLQHIIHFW
,7,66225'(5('

2UGHU'DWH                                                                                   V 3. +ROPHV ,,,
                                                                                                          Judge’s signature


(IIHFWLYH'DWH                                                          +RQRUDEOH 3 . +ROPHV ,,, &KLHI 8QLWHG 6WDWHV 'LVWULFW -XGJH
                      (if different from order date)                                                    Printed name and title
